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                     UNITED STATES DISTRICT COURT
                  SOUTHERN DISTRICT OF WEST VIRGINIA
                             AT CHARLESTON



UNITED STATES OF AMERICA

v.                                   CRIMINAL ACTION NO. 2:10-00070-03

LEVI CARTER


         SUPERVISED RELEASE REVOCATION AND JUDGMENT ORDER
                   MEMORANDUM OPINION AND ORDER


           On May 29, 2014, the United States of America appeared

by Monica D. Coleman, Assistant United States Attorney, and the

defendant, Levi Carter, appeared in person and by his counsel,

Carl E. Hostler, for a hearing on the petition on supervised

release submitted by United States Probation Officer Joseph

Black.   The defendant commenced a twenty-four months less one day

term of supervised release in this action on July 10, 2012, as

more fully set forth in the Supervised Release Revocation and

Judgment Order entered by the court on October 3, 2011.


           The court heard the admissions of the defendant and the

representations and argument of counsel.
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           For reasons noted on the record of this proceeding,

which are ORDERED incorporated herein by reference, the court

found that the defendant has violated the conditions of

supervised release in the following respects:            (1) the defendant

violated federal and state law inasmuch as on November 1, 2013,

he sold crack cocaine weighing approximately .188 gram to a

confidential informant; and (2) the defendant failed to follow

the instruction of the probation officer that he report to the

probation office on December 19, 2013, inasmuch as he did not

report on that date or any date thereafter rendering his

whereabouts unknown; all as admitted by the defendant on the

record of the hearing and as set forth in the petition on

supervised release.


           And the court finding, as more fully set forth on the

record of the hearing, that the violations warrant revocation of

supervised release and, further, that it would unduly depreciate

the seriousness of the violations if supervised release were not

revoked, it is ORDERED that the supervised release previously

imposed upon the defendant in this action be, and it hereby is,

revoked.




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           And the court having complied with the requirements of

Rule 32(a)(1)(B) and (C) of the Federal Rules of Criminal

Procedure, and finding, after considering the factors set forth

in 18 U.S.C. § 3583(e), that the defendant is in need of

correctional treatment which can most effectively be provided if

he is confined, it is accordingly ORDERED that the defendant be,

and he hereby is, committed to the custody of the United States

Bureau of Prisons for imprisonment for a period of TEN (10)

MONTHS.


           The defendant was remanded to the custody of the United

States Marshal.


           The Clerk is directed to forward copies of this written

opinion and order to the defendant, all counsel of record, the

United States Probation Department, and the United States

Marshal.


                                         DATED:       June 11, 2014


                                         John T. Copenhaver, Jr.
                                         United States District Judge




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